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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                       SOUTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                     No. 05 Cr. 1192 (NRB)
                v.
                                                     District Judge Naomi Reice Buchwald
 PHILLIP BENNETT,

                       Defendant.



 [PROPOSED] ORDER GRANTING DEFENDANT’S REQUEST FOR REDUCTION IN
                SENTENCE UNDER 18 U.S.C. § 3582(c)(1)(A)


       After considering the statutory factors under 18 U.S.C. § 3553(a), and finding under 18

U.S.C. § 3582(c)(1)(A) that there are extraordinary and compelling reasons for compassionate

release and that compassionate release is consistent with the applicable United States Sentencing

Commission policy statements, the Court hereby ORDERS that:

       1. Defendant’s Request for Compassionate Release under 18 U.S.C. § 3582(c)(1)(A)

           (ECF No. 296), effective May 21, 2020, is hereby GRANTED;

       2. Effective May 21, 2020, Defendant’s sentence is reduced to time served;

       3. On May 21, 2020, the Bureau of Prisons (“BOP”) shall immediately transfer Defendant

           to the custody of U.S. Immigration and Customs Enforcement (“ICE”) so that

           Defendant may be removed to the United Kingdom as soon as practicable; and

       4. In the event that circumstances outside the BOP’s or ICE’s control arise that prevent

           Defendant’s deportation from the United States on May 21, 2020, Defendant shall be

           removed from the United States on the next practicable date.
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IT IS SO ORDERED.


        May 20, 2020
Dated: ________________________     ______________________________
                                    Hon. Naomi Reice Buchwald
                                    United States District Judge




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